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                     EXHIBIT 2
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            Flexible Premium Adjustable Life Insurance Policy




            Death Benefit payable to the Beneficiary upon death of the Insured if
            this policy is in force. Net Cash Value payable to you upon Full
            Surrender.          Flexible premium may be paid until the death of the
            Insured as described in this policy. This policy is nonparticipating; no
            dividends are payable on this policy.



                   Signed for the Company at its home office on the Policy Date.



                                                                         ~~Pl1CAIE
                       Maureen A. Phillips                                 Gary C. Bhojwani
                            Secretary                                      President and CEO



               YOUR 30 DAY RIGHT TO EXAMINE YOUR POLICY · .
               Youfl1ay H~turn your policy within 30 days after receiving it if dif;satisfied for any
               reasol), 'You may return ..it to the agent or our horn~ office. We will. Void the policy.
               andma.il a refund of any premium you paid withi_n 10 de~ys of receipt. _·.·•. ·. · · · ·· · · .· ·._




             This is a legal contract between you and the Company.


                                             READ YOUR POLICY CAREFULLY



                     ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                                   5701 Golden Hills Drive
                                                 Minneapolis, MN 55416-1297




P50537 NJ


                                                                                                                      ALLIANZ-ZUPNICK-0021
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                                     GUIDE TO POLICY PROVISIONS


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                                                                                                 OUPL\CA1E




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                                                                     ALLIANZ-ZUPNICK-0023
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                                         POLICY SCHEDULE (CONTINUED)
   POLICY NUMBER: 60029320


                                                           Guaranteed Monthly
                                         Effective Date    Rider Cost Rate      Rider Specified Amount
  Terminal Illness Accelerated Benefit   04/07/2008        No Monthly Rider
  Rider                                                    Cost Charge

  Death Benefit Protection Rider II      04/07/2008
                                                           No Monthly Rider     oUPL\CA1E
                                                           Cost Charge




                                                          3A



                                                                                             ALLIANZ-ZUPNICK-0024
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                                            POLICY SCHEDULE (CONTINUED)
    POLICY NUMBER:        ~320

    SPECIFIED AMOUNT INCREASES AND MINIMUMS:
      If the Specified Amount is increased, a new schedule of Surrender Charges will be added. The schedule runs for 20
      years from the effective date of the Specified Amount Increase. This change will be provided on a revised Policy
      Schedule.

      Minimum Current Specified Amount:                        $100,000
      Minimum Specified Amount Increase:                       $50,000
      Last Age a Specified Amount Increase can be made effective:            80

      Minimum increase in Death Benefit caused by a premium payment that will allow us to require undeJWriting or limit the
      premium is the lesser of:

      (a) $25,000; or
      (b) two times the Death Benefit prior to the payment of the premium.

    MORTALITY TABLE BASIS: 2001 Commissioners' Standard Ordinary Mate or Female, Smoker or Nonsmoker Mortality
    Tables.
      Table Multiplier: (See Table of Guaranteed Maximum Standard Monthly Mortality Cost Charge Rates)       1.00




    PREFERRED POLICY LOANS:

      Any Policy Loan or new loans in a Policy Year are preferred Policy Loans if:

      (a) the Policy Year is later than the fifth Policy Year; and
      (b) as of the previous Policy Anniversary, the average Accumulation Value on each Monthly Anniversary Date in the
      last 12 months is at least $50,000; or
      (c) the Insured has attained Age 100
                                                                                                 OUPL1CATE




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                                                                                                              ALLIANZ-ZUPNICK-0025
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                               POLICY SCHEDULE (CONTINUED}


                All Information on this page pertains to the Death Benefit Protection Rider II

                              Monthly Guaranteed Death Benefit Test Factors

                                                          Monthly Guaranteed
                              Policy Year                 Death Benefit Test
                                                          Factors


                                  1-10                        1.008734594
                                 11-20                        1 .009112468
                                  21+                         1.011714917




                                         Monthly Rider Test Premiums
                                               Current $0.00
                                              Guaranteed $0.00


                                        Pramium Factor A: 35%
                                        Premium Factor 8: 15%
                                    Premium Factor Limit: $555,600.00




                                                  3C




                                                                                                 ALLIANZ-ZUPNICK-0026
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                                       POLICY SCHEDULE (CONTINUED)

                    All Information on this page pertains to the Death Benefit Protection Rider II

                                              Monthly Test Premiums


                                   Monthly Test                        Attained              Monthly Test
                                    Premium                              A e                  Premium
               80                   34725.04                              81                   25899.76
               82                   17074.56                              83                   20626.96
               84                   24903.28                              85                   29903.52
               86                   35676.88                              87                   42192.64
               88                   49475.28                              89                   57549.36
               90                   66292.16                              91                   75225.20
               92                   82636.72                              93                   90790.56
               94                   99760.40                              95                  109699.60
               96                  120534.64                              97                  132480.08
               98
             100+
                                   145591.28
                                         0.00
                                                                          99                  160046.16     E.
                                                                                          oUPL\CA1




                                                          30




                                                                                                     ALLIANZ-ZUPNICK-0027
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                                    NOTICE
                     NEW JERSEY LIFE AND HEALTH INSURANCE
                          GUARANTY ASSOCIATION ACT

    Residents of New Jersey who purchase life insurance, annuities or health insurance should know that
    the insurance companies licensed in this state to write these types of insurance are members of the New
    Jersey Life and Health Insurance Guaranty Association.

    The purpose of this association is to assure that policy holders will be protected, within limits, in the
    unlikely event that a member insurer becomes financially unable to meet its obligations. If this should
    happen, the Guaranty Association will assess its other member insurance companies for the money to
    pay the claims of insured persons who live in this state and, in some cases, to keep coverage in force.

    The valuable extra protection provided by these insurers through the Guaranty Association is not
    unlimited, however. And, as noted in the box below, this protection is not a substitute for consumers'
    care in selecting companies that are well-managed and financially stable.

                                                       DISCLAIMER

       The New Jersey Life and Health Insurance Guaranty Association may not provide
       coverage for this policy. If coverage is provided, it may be subject to substantial
       limitations or exclusions, and require continued residency in New Jersey. You should
       not rely on coverage by the New Jersey Life and Health Insurance Guaranty
       Association in selecting an insurance company or in selecting an insurance policy.

       Coverage is NOT provided for your policy or any portion of it that is not guaranteed by
       the insurer or for which you have assumed the risk, such as a variable contract sold by
       prospectus.

       Insurance companies or their agents are required by law to give or send you this
       notice. However, insurance companies and their agents are prohibited by law from
       using the existence of the guaranty association to induce you to purchase any kind of
       insurance policy.

                      The New Jersey Life and Health Insurance Guaranty Association
                                           One Gateway Center
                                                7th Floor
                                            Newark, NJ 07102

                                State of New Jersey Department of Insurance
                           20 West State Street CN-325, Trenton, New Jersey 08625


      The s~at: law that provides for this safety-net.. co~erage is called the New Jersey Life and Health Insurance G~y
      Association Act, N.J.S.A.178:32A-1, etseq.(the Act).                                     oUPL\CP\\              t:




      NB2101N                                                                                            (R-3/04)


                                                                                                          ALLIANZ-ZUPNICK-0028
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      COVERAGE
      The following is a brief summary of this law's coverages, exclusions and limits. This summary does not
      cover all provisions of the law; nor does it in any way change anyone's rights or obligations under the
      act or the rights or obligations of the guaranty association.

      Generally, individuals will be protected by the Life and Health Insurance Guaranty Association if they
      live in New Jersey and hold a life, health, or long~term care insurance contract, or they are insured
      under a group insurance contract, issued by a member insurer.

      The beneficiaries, payees or assignees of insured persons are protected as well, even if they live in
      another state.

      EXCLUSIONS FROM COVERAGE
             However, persons holding such policies are not protected by this association if:
             • they are eligible for protection under the Jaws of another state (this may occur when the
                insolvent insurer was incorporated in another state whose guaranty association protects
                insureds who live outside that state);
             • the insurer was not authorized to do business in this state;
             • the policy is issued by an organization which is not a member of the New Jersey Life and
                Health Insurance Guaranty Association.

      The association also does not provide coverage for:
            • any policy or portion of a policy which is not guaranteed by the insurer or for which the
                individual has assumed the risk, such as a variable contract sold by prospectus;
            • any policy of reinsurance (unless an assumption certificate was issued);
             • interest rate yields that exceed an average rate as more fully described in Section 3 of the
                Act;
            • dividends;
            • credits given in connection with the administration of a policy for a group holder;
            • employers' plans to the extent they are self-funded (that is, not insured by an insurance
                company, even if an insurance company administers them.)


      LIMITS ON AMOUNT OF COVERAGE
      The act also limits the amount the association is obligated to pay out. The association cannot pay
      more than what the insurance company would owe under a policy or contract.

      With respect to any one individual, regardless of the number of policies or contracts, the association will
      not pay more than $500,000 in life insurance death benefits and present value annuity benefits, including
      net cash surrender and net cash withdrawal values. Within this overall limit, the association will not pay
      more than $100,000 in cash surrender values for life insurance, $100,000 in cash surrender values for
      annuity benefits, $500,000 in life insurance death benefits, or $500,000 in present value or annuities -
      again, no matter how many policies and contracts that were with the same company, and no matter how
      many different types of coverages.

      The association will not pay more than $2,000,000 in benefits to any one contract holder under any one
      unallocated annuity contract.

      There are not limits on the benefits the association will pay with respect to any one group, blanket or
      individual accident and health insurance policies.
                                                                                        DUPLICATE

      NB2101N


                                                                                                 ALLIANZ-ZUPNICK-0029
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                                                                      ALLIANZ-ZUPNICK-0030
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                                                                      ALLIANZ-ZUPNICK-0031
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                                             --~




      f!'ZffrSltH.ralJntq~wxttq·merYnJIDYea~~w~~~;~-rJx~ff!J~t~~~~~~~~~~*~~~~~~
      0 GenDex-RP"' life lnsurante Policy
        Death Benefit Option (issued wilh Death Benefit Option Aonly)

                                                            I
        Select the following allotation in incrementsof'Y minimum allocatioo isS%. Total must equal100%.
           Monthly point-to-point S&P soo %___ Monthly point-to-point t-{asdaq-100• %_ _ _ , Interest eaming account% _ _
           Annual point·t<l-pojnt S&P soo% ___
      0 CenDex Survivorship"" life Insurance Polfcy
        Note; Survivorship product Is a second to die policy. Insured's cannot be listed as each others beneficiaries. Aseparate person,
        corporation, or trust has to be named as the beneficiary.
         Guaranteed Death Benefit Options (GDB) check one.lf a box is not selected, Option #1 will be issued.
           0 Option #1: 10 years 0 Option #2:20 years or to younger applicant's age 6S (15 years if younger applicant is age 75·80)
           0 Oplion #3: To younger applicants age 120.
         Death Benefit Option (check one· Option Band Option Cnot available if GOB option #2 or #3 is selected above).lf a box is not
           selected, Optioo Awill be issued. 0 A(specined amount) 0 B(accumulation value payable plus specified amount)
           0 C(specified amount plus total of all premiums paid less gross partial surrender amounts)
         ~finition of life insurance test (check one).lf a box is nor selected, GPT will be issued.
         . 0 cash value accumulation test {CVAl) 0 Guidelirn! premium test {GPT)
        Select the following arlocation in increments of "25", e.g. 0%, 25%,50%,75%, 100%. Total must equal 100%.
          S&P 500 allocation%                              N~sdaq-1 00 allocation%                     ·   Interest allocation%
       Optional riders
         0 Waiver of Monthly Deduction Rider for proposed first insured {not avallable with GOB option #2 or #3)
         0 Waiver of Monthty Deduction Rider for proposed second insured (not available with GOB option 112 or #3)
         0 Estate'Protection Rider
         0 First-to-Die Rider (not available with COB option #2 or #3) Rider spedOed amount$
     0 GenDex SP"' Life lmuran(e Policy
       Guaranteed Oeath Benefit Options (GOB) check one. If a box is not selected, Option #1 will be issued.
         OOption #1: lOyears 00ption#2:20years ortoage65 (15years if applicant is age 75-80) 0 Option #3:To~ge 120.
        Death Benefit Option {c:heck one- Option Bnot available if GDll option #2 or #3 is selected above). If <1 box is not selected, Option A
          will be issued. 0 A(spedfied amount) 0 8 (accumulation V<tlue payable plus specified amount)
        Definition of life insufilnce test (check one).lf a box is not selected, 0/ATwlll be issued.
          0 Cash value accumulation test (CVAD (J Guideline premium tesf(GPl)
       Select the following allocation in incr<;ments of "25", e.g. 0%. 25%, 50%,75%, 100%. Total must equallOO%.
         Sl!oP 500 allocation%                             Nasdaq-1 CO allocation%                              Interest allocation%
       Optional riders
          0 long Term Care Accelerated Benefit Rider (LTCABR)'                      Rider specified (face) amount$
             l TC monthly benefit {1·4)--.....% of rider specified amount.          'LTC ABR not availabla in CA.. KY. MA, Nl, OR, UT, VA. and WA
     0 Equity Inc/ex UfeFund !II"" life Insurance Policy
     0 Oassic: lifeFuod II"' Life Insurance Policy (indexing not applicable· allocations should not be selected)
       Sel~t the following allocation in increments of "25", e.g. 0%, 25%,50%.75%, 100%. Total must equal100%•.
         S&P 500 allocation !1:                            Nasdaq-100 allocation%                               Interest allocation%
        Death Benefit Option. if a box is not selected, Option Awill be issued.
           0 A(specified amount) 0 8 (accumulation          valuepayabla plus specified    amount)
        Do you hilYe a spouse? 0 Yes 0 No If Yes, do you desire spousal coverage? 0 Yes 0 No
           If Yes, please provide spouse's nam~: and date of birth. If No, a spouse can be added at a la!~f date subject to underwriting.
        Firstname                                            ~ Ml        !
                                                                         last name

        Date of birth (mm/dd!yyyy)                        Do you have <hildren?O Yes 0 No        rrYes.completesupplementar[)upL(CATE
     NBS056-R5                                                  ··~-~~tliiii.t?:fiimf9!1Jts:1,                                NB5056-R6-00 V1
                                                                         Page2of5                                                     (8/2006)




                                                                                                                                                    ALLIANZ-ZUPNICK-0032
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                                                                      ALLIANZ-ZUPNICK-0033
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       mfiBgP..!~gm~a:ta~;~~~~~~~~'-~~~~~~*~~~~f~~~~,-r~~~~tfl~~~~~~~
       Does the prcposed primary/first !9sured have a(n} existing:
       1. Annuitycnntracts? _9Yes efNo
       2. Ufe insurance( BYes 0 No Jf Yes, w~l the life insurance being OlllSidl¥ed rep Ia ce or change existing contracts or polides? 0 Yes ~
                                                                J.
          Amount of life insurance in force or applied (or? ~ '5 ri) j \ i o ~                                         ·
       J. long'terrn care (lie) policies? DYes Bl'lo tfYes. wi!l the LTC insurance being considered rep!&e or change eXisting tong term care
          insurancecontractsorpolides7 DYes ONo




      AJ,Jent'ss.tatement ~By signing this Worksheet, I acknowledge that (check the following lhot apply):
      Ill r did not provide an illustration                                       .
      0 The policy described in this Worksheet differs from the policy illustrated.
      0 I displayed a computer screen illustration that complies with state requirements and for which no paper copy was furnished.
      P91posed owner's statement- Dy signing this Worksheet, 1/we acknowledge that (check the Following that apply):
      el !/we did not receive an illustration conforming to the policy described on this Worksheet.
      0 t/vve received an illustration fonhe policy. However, the illustration dirlers rrom the policy described on this Worksheet
      0 1/we viewed a computer sCfeen Hlustratlon based on the Information stated above. No paper copy of the illustration was furnished.
      0 1/vve understand that an illustration conforming to the policy as issued will be provided to me/us no laterthan at the time the porq
          is delivered.
      The computer screen illustrntion was based on !he fol101ving: (complete l-3 foreadl proposed primary/first and second insured)
      1. 0 Male 0 Female              2. Age                          3. Unde!Writingorratingclass _ _ _ _~----
          0 Male 0 Female                Age                          · Unde!Wrlting orrating c l a s s - - - - - - - - -
      4. Type of policy,                                              5. Initial Death Benefit $._ _ _ _ _ _ __
      6. The guaranteed interest rate is                    X        Current non·gU(Iranteed intere.st rate is             %
      7. Numberofpolicyyearsillustrated                     Premiumamovnt$ ·                                      NumbcrofYearsofpremium _ __
      ~'f:!lffinil'"'f"r~ittW1Sirtru~""ma-sWI'rcr&ttr~ntwsc:I2~ws1Wi"''fe·""~tii~~h"'aTffiW1tif~r-""e'll<;~=e11\tif"ie-~'~¥~"'J
      ·-·W~fl! _,.mJ~ '····--~;;-~--'t<"'-'P..Iii-· ·-~~..L~ .. --·· .. ~---·--· .P...-P.!IJ... ..Y...!L.i!!!..-<v. __ ,!U.. !P..t.dlL!.l_!N,~W-~
      8esttime to call                               Preferred day to call                                   Phone number                  0 Work
                                                                                                                                         OHome
      Special requests                                                                               Alternate phone number (optional)
      0 Hearing Impaired 0 Interpreter needed; languagt! _ _ _ _ _ _ _ _ _ __                        (           )




      NB5056·R6                                               ·~~~t!JrN~Ji.l:lom~lQifi~\!).                              NB5056-R6·00 Vl
                                                                       Page4ofS                                                      {B/2006)




                                                                                                                                            ALLIANZ-ZUPNICK-0034
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      •ilvOm;;;f:::;''·"""'l'''i!"'n'"''"'"'"t'f'""'::iT"<'"'""""fi':'"'"hl!!'..!ll'ifbi,!•;,;~&ffiil:A;'::~tfi'~W.~~"'=.3'~~l'l'Jlii!><!;Dtt~fil•t<Wi'S!~~f;';!J~h~
      l.....t;~.J.9,.W,.t}~9~l!J.!W~.ful.§J9!li!!-.!'.f&~~w~<~-?\i\l$M.;;;ffi.r~Jm;:li@~-~;"$J;-ra;~~ill:~J~f.li~~~~~~
      I have received the Medical Information Bureau disclosure and Investigative consumer report notice, fonn number NB502S.

      Proposed primaryjfimlnsured'ssignature --..!::~:....:-0: . .0.u
                                                                  ~. ..t:-~'-.. -J¥'&.-=..;q,...~~'-"~~-----~--------
      Proposedowner'ssignature           ~~· ~-
                                    &--;,..-                ~
      Proposed other/second Insured/spousal's signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Primary beneficiary's(les) for proposed primary/first and second insured/proposed other insured(s) consent (only require4in
      AK, AZ, CA. ID,lA, NM, NV, TX, WA, and Wl) This is a community propeny state. By signing belovv,l v..aive my Community Property
      Interest and give my conseot for someone other than myself to be designated as primary beneficial}' to this policy.
      Spousalconsent(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _~----~------------

     To be ~nswered by a licensed agent: By signing below, I certify that the statements of the proposed owner(s) have been correctly recOided
     in this Worksheet, and that! have reviewed a driver's license or other government issued ID to verify the ldentHy of all proposed insurOO's
     and owner; if different. If a form of government ID other than a driver's license was reviewed, please specify the type of document (sum
     as Social Security card, birth ~;;ertificate, or passport). Please Note; 'Nhile reviewing the drivers llcense or other form of 10 i~ preferred, !Iris
     is not required for the 10 and 20 Year Term products.
     Type of document reviewed-----~-------------+------------­
     To the best of my knowledge, the insurance being considered in this Worl:sheet 0 will                  Of~m
                                                                                                               not replace existing insurance.

     Today's date (mm/dd/'!fYY)        3\\\\C\~·                Writing agent's $lgnature        -----"cZZ"---r-~-..--7":::.......=------::
                                                                                                             ~ 7(}UPL\CA1E




     NB5nS6·R6                                                      ;.~~~~. . .~~tt:!1~cin_,~toffk~.'­                                 NB5056-R6-00 V1
                                                                             Page SofS                                                                (8/2006)




                                                                                                                                                               ALLIANZ-ZUPNICK-0035
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                                                                      ALLIANZ-ZUPNICK-0036
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                          ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                                     5701 Golden Hills Drive
                                                   Minneapolis, MN 55416-1297

                                       Terminal Illness Accelerated Benefit Rider

   The Company has issued this Rider as a pari of the Entire Contract. If there are any conflicts between this Rider, the Base
   Policy, any other Riders or any other endorsements attached to the Base Policy, the provisions of this Rider will prevail.

   Receipt of these Accelerated Benefits may be taxable.             Assistance should be sought from a professional tax
   advisor.

     CONSIDERATION                We have issued this Rider in consideration of the application. A copy of the application is
                                  attached to the Base Policy.

     ACCELERATED                  Notice requesting an Accelerated Benefit must be provided to our home office.             The
     BENEFIT                      maximum Accelerated Benefit amount you may request is the lesser of:

                                  1. $1,000,000; or
                                  2.   100% of the Eligible Amount.

                                  If you accelerate less than 100% of the Eligible Amount, the minimum remaining amount
                                  must be at least $10,000.

                                  The minimum amount you may request is $10,000.

                                  The payment to you will equal the requested Accelerated Benefit amount discounted for one
                                  half year's interest using the Preferred Policy Loan Interest Rate shown on the Policy
                                  Schedule.

     DEFINITIONS                  Definitions specific to this Rider that are not in the Base Policy follow.

     Base Policy                  The policy to which this Rider is attached.

     Base Policy Attributes       The Current Specified Amount, Accumulation Value, Planned Premium, the portion of the
                                  Minimum Monthly Premium attributable to insurance coverage from the Base Policy,
                                  Surrender Charge, and Policy Loans at a given point in time.

     Due Proof                    The information or evidence submitted to us sufficient to satisfy us of the existence of a fact
                                  or condition.

     Eligible Amount              The Death Benefit of the Base Policy plus any Rider Specified Amount of the Additional
                                  Term Rider, less any Policy Loans.

     Family Member                Includes your spouse or the Insured's spouse. It also includes your or your spouse's or the
                                  Insured's or the Insured's spouse's: daughter, son, parent, sister, brother, grandparent or
                                  grandchild; and the same degree of relationship as effected by a common law marriage if
                                  recognized in the state where you or the Insured reside.

     Physician                    Physician is a person who:

                                  1.   is licensed to practice medicine or surgery and prescribe and administer drugs; and
                                  2.   is legally qualified as a medical practitioner and required to be recognized according to
                                       applicable state insurance laws.

                                  We consider a person to be a Physician only when the person is performing tasks that are
                                  within the limits of the person's medical license, and such tasks are appropriate to the care
                                  of the Insured. We will not recognize you, the Insured or a Family Member as a Physician
                                  for claims made under this Rider.
                                                                                                   oUPL\CATE
   PR1092


                                                                                                               ALLIANZ-ZUPNICK-0037
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      Terminal Illness      Is a diagnosis by a Physician of a medical condition that is expected to result in death of the
                            Insured within 12 months, or less.

      CONDITIONS OF         An Accelerated Benefit will be payable to you if aU of the following requirements are met:
      ELIGIBILITY
                            1. Due Proof has been received by us of the Insured's Terminal Illness.
                            2. The Base PoHcy, any Additional Term Rider (if the Accelerated Benefit amount is from
                               that rider) and this Rider were in force at the time of a diagnosis of Terminal Illness.
                            3. None of the !imitations and exclusions in the Limitations and Exclusions section of this
                               Rider applies.
                            4. If the Base Policy is assigned, the assignee has agreed in writing for you to receive the
                               benefit; otherwise the benefit will be payable to the assignee.
                            5. If an irrevocable Beneficiary has been named, the irrevocable Beneficiary has agreed in
                               writing for you to receive the benefit.
                            6. The Insured is living at the time when all requirements, {1} through (5) above, are met.

      REDUCTION OF THE      If an Additional Term Rider is in effect, the Accelerated Benefit amount will apply to that
      RIDER SPECIFIED       Rider before it applies to the Base Policy. A payment will reduce the Rider Specified
      AMOUNT AND MINIMUM    Amount of the Additional Term Rider by the amount of the Accelerated Benefit. The
      MONTHlY PREMIUM OF    Minimum Monthly Premium will be reduced by the Minimum Monthly Premium attributable
      ANY ADDITIONAL TERM   to the Accelerated Benefit amount of the Additional Term Rider.
      RIDER

      REDUCTION OF BASE     If an Accelerated Benefit is paid from the Base Policy, the Base Policy Attributes will each
      POLICY ATTRIBUTES     be reduced by an amount equal to (a) multiplied by (b) divided by (c), where:

                            (a) is the amount of the Base Policy's Attribute on the date an Accelerated Benefit is paid;
                            (b) is the Accelerated Benefit amount; and
                            (c) is the Base Policy's Death Benefit Jess any Policy Loans, as of the Accelerated Benefit
                                payment date.

                            Each Annual Report will include a statement showing the effect of any Accelerated Benefit
                            payment

                            Accidental death benefit coverage, if any, will not be affected by benefits paid by this Rider.

      REQUIREMENTS FOR      For Due Proof of occurrence of Terminal Illness, we must be furnished a diagnosis of a
      PROOF OF              Terminal Illness by a Physician, including documentation supported by clinical, radiological,
      OCCURRENCE            histological and laboratory evidence of the diagnosis. The Due Proof of occurrence must be
                            satisfactory to us and we may require, at our expense, an examination or tests by a
                            Physician of our choice.

      NOTICE OF CLAIM       Notice of Claim must be given within 90 days after a diagnosis of a Terminal Illness has
                            been made or as soon as reasonably possible thereafter. Notice of Claim must be given no
                            later than one year from the time specified unless you were legally unable to act.

                            The Notice can be given to us at our address shown on the front page of the Base Policy or
                            to any one of our agents. Notice should include the Insured's name and the policy number.

      CLAIM FORMS           When we receive a Notice of Claim, we will send you forms for filing a claim.

      PRE-EXISTING          Benefits are not payable for any Terminal Illness that occurs within the 30 days immediately
      CONDITION             following the Rider Date, unless it is caused by accident.
      liMITATIONS

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     LIMITATIONS AND              Only one. Accelerated Benefit payment is available during the life of the Base Policy.
     EXCLUSIONS
                                  No benefits under this Rider will be provided for any claim filed outside of the filing limitation
                                  described in the Notice of Claim provision or for any loss that is caused by or occurs as a
                                  result of:

                                  1. intentionally self-inflicted bodily injury, suicide or attempted suicide, whether sane or
                                      insane;
                                 2.   an act of war, declared or undeclared, or during service in any of the armed forces;
                                 3.   participation in, or attempting to participate in, a felony, riot or insurrection; or the
                                      voluntary misuse of alcohol or taking of drugs. This exclusion does not apply if the
                                      drugs are administered by a Physician or taken according to a Physician's instructions.

     RIDER DATE                   The Effective Date of this Rider is shown on the Policy Schedule.

     TERMINATION                 This Rider will terminate if the Base Policy terminates.

     REINSTATEMENT                In addition to the provisions of the Base Policy relating to reinstatement, this Rider will be
                                  Reinstated at the same time the Base Policy is Reinstated.

     NO DIVIDENDS ARE            This Rider does not participate in our profits or surplus.
     PAYABLE




   In all other respects 1he provisions, conditions, exceptions and limitations contained in the Base Policy remain unchanged
   and apply to this Rider. Signed for the Company in Minneapolis, Minnesota.




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                             Maureen A. Phillips                             Gary C. Bhojwani
                                 Secretary                                   President and CEO




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                                        DEATH BENEFIT PROTECTION RIDER 11


   The Company has issued this Rider as a part of the Entire Contract. If there are any conflicts between this Rider and the
   Base Policy, the provisions of this Rider will prevail.

     CONSIDERATION            This Rider is issued in consideration of the application.

     DEFINITIONS              Definitions specific to this Rider that are not in the Base Policy follow.

     Base Policy              The policy to which this Rider is attached.

     Annual Paid Premium      Premium applied since 21 days prior to the most recent Policy Anniversary.
     Basis

     Annual Test Premium      The sum of all Monthly Test Premiums and Monthly Rider Test Premiums on or since the
     Basis                    most recent Policy Anniversary. These premiums are shown on the Policy Schedule.

     GUARANTEED               The Base Policy will not enter the Grace Period on any Monthly Anniversary Date prior to the
     DEATH BENEFIT            Insured's Age 120 if the Guaranteed Death Benefit Test has been met.

     GUARANTEED               The Guaranteed Death Benefit Test will be met on each Monthly Anniversary Date if the Test
     DEATH BENEFIT            Value is greater than or equal to any Policy Loans.
     TEST
                              The Test Value on the Monthly Anniversary Date will be the value of the calculation below.

                              The Test Value equals {A+ B- C} multiplied by D where:

                               A.    Is the result of (a) minus {b) where:
                                    (a) Is the Test Value immediately prior to this calculation, zero on the Policy Date; and
                                    (b) Is any Gross Partial Surrender Amounts taken since the prior Monthly Anniversary
                                         Date.

                               B. Is the result of (a) minus the sum of (c) and (d) where:
                                    (a) Is premium applied since the prior Monthly Anniversary Date;
                                    (b) Is the lesser of (a) or the result of the Annual Paid Premium Basis minus the Premium
                                        Factor Limit;
                                    (c) Is Premium Factor A multiplied by (a); and
                                    (d) Is Premium Factor B multiplied by (b), but not less than zero.

                               C. Is the result of (a) minus the sum of (c) and (d) where:
                                  {a) Is the Monthly Test Premium plus the current Monthly Rider Test Premium;
                                  (b) Is the lesser of (a) or the result of the Annual Test Premium Basis minus the
                                      Premium Factor Limit;
                                  (c) Is Premium Factor A multiplied by (a); and
                                  (d) Is Premium Factor B multipHed by (b), but not less than zero.

                               D. Is the Monthly Guaranteed Death Benefit Test Factor.

                              Premium Factor A, Premium Factor B, Premium Factor Limit, and Monthly Guaranteed Death
                              Benefit Test Factors are shown on the Policy Schedule.

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     CHANGE OF VALUES         If there is a change in any of the following items, the Monthly Test Premiums and/or the
                              guaranteed Monthly Rider Test Premiums will change:

                               (a) Current Specified Amount of the Base Policy;
                               (b) Any Rider Specified Amount; or
                               (c) Premium Rate Class of the Insured.

                               The current Monthly Rider Test Premiums may also change, up to the guaranteed Monthly
                               Rider Test Premiums, based on Rider charge changes for any other Riders attached to the
                               Base Policy, or based on future expectations of investment earnings, mortality, persistency,
                               expenses, and taxes. Any change made will apply to all like contracts in the same Premium
                               Rate Class.

                               The Monthly Guaranteed Death Benefit Test Factors will change if either of the following
                               change:

                               (a) Current Specified Amount; or
                               (b) Premium Rate Class of the Insured,

                              A new Policy Schedule will be sent upon our completion of any of the above changes.

     GRACE PERIOD             While this Rider is in effect, the Grace Period will begin on the latest of the Monthly
                              Anniversary Date when:

                               (a) The Guaranteed Death Benefit Test has not been met;
                               (b) The Net Cash Value is less than the Monthly Deductions; or
                               (c) The Net Cash Value is zero or less.

     RIDER DATE                The Effective Date of this Rider will be the date shown on the Policy Schedule.

     TERMINATION               This Rider will terminate:

                               (a) If the Base Policy terminates; or
                               (b) On the Policy Anniversary when the Insured is Age 120.

     REINSTATEMENT             Once this Rider is terminated, it cannot be reinstated.

     NO DIVIDENDS ARE          This Rider does not participate in our profits or surplus.
     PAYABLE



   In all other respects the provisions, conditions, exceptions and !imitations contained in the Base Policy remain unchanged
   and apply to this Rider. Signed for the Company in Minneapolis, Minnesota.

                   ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA



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                              Maureen A Phillips                             Gary C. Bhojwani
                                  Secretary                                  President and CEO




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                                                         DEFINITIONS

   This section provides the meaning of special terms used throughout this policy. Most of these terms are capitalized
   throughout this policy to help you easily recognize them. Provision titles, section titles, and terms used on the Policy
   Schedule are also capitalized for your convenience.

     We, Our, Us or the          Allianz Life Insurance Company of North America. The terms We, Our, Us or the Company
     Company                     may not be capitalized throughout this policy.

     You and Your                The owner of this policy named in the application, unless later changed. The owner may be
                                 other than the person insured. You are solely entitled to exercise all rights of this policy until
                                 the death of the Insured. The terms You and Your may not be capitalized throughout this
                                 policy.

     Age                         The Insured's attained age at the last Policy Anniversary. When applied to Specified
                                 Amount Increases only, Age is the Insured's age last birthday determined as of the effective
                                 date of a Specified Amount Increase and the anniversaries of such effective date.

     Beneficiary                 The person or entity to whom we will pay the Death Benefit if the Insured dies.

     Cash Value                  The Accumulation Value described in Policy Values on page 9, less any Surrender Charge.

     Corridor Death Benefit      The excess of the Death Benefit over the result of the Current Specified Amount less the
                                 total of all Gross Partial Surrender Amounts.

     Current Specified           The sum of all Specified Amount Portions.
     Amount

     Due Proof                   Due Proof will include a certified copy of the death certificate and proof of interest of the
                                 claimant.

     Endorsement                 An attachment to this policy that may provide an additional benefit or amend this policy.

     Initial Specified Amount    The initial amount of life insurance on the Policy Date and shown on the Policy Schedule.

     Insured                     The person whose life is insured under this Policy.

     Lapse                       Termination of this policy due to insufficient Net Cash Value as described in the Grace
                                 Period provision.

     Minimum Monthly             The monthly premium used in the Policy Protection Test and is shown on the Policy
     Premium                     Schedule.

     Monthly Anniversary         The date of each month that corresponds to the date of the month of the Policy Date. If that
     Date                        date is not in a month, the last date of that month will be considered the Monthly
                                 Anniversary Date.

     Monthly Rider Cost          The charge for any applicable attached Rider and is deducted as part of the Monthly
     Charge                      Deduction.

     Net Cash Value              The Cash Value less any Policy Loan.

     Net Premium                 Premium paid by you less the Premium Charge shown on the PoHcy Schedule.

     Notice                      Our receipt of a satisfactory written request.

     Planned Premium             Premium you plan to pay as shown on the Policy Schedule. You may pay more or less than
                                 the Planned Premium in any Policy Year pursuant to the Premiums provisions.


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                                              DEFINITIONS (continued)

     Policy Anniversary        The Monthly Anniversary Date that occurs in the same month of each Policy Year as the
                               Policy Date. The first Policy Anniversary is 12 months after the Policy Date.

     Policy Bonus              The Polley Bonus is equal to one-twelfth of the Policy Annual Bonus Rate shown on the
                               Policy Schedule, multiplied by the unloaned Accumulation Value.

     Policy Date               Date shown on the Policy Schedule that determines the Monthly Anniversary Date, Policy
                               Anniversaries, Policy Months and Policy Years.

     Policy Loan               The total outstanding loans made on this policy, including interest paid in advance for the
                               current Policy Year.

     Policy Month              The period between a Monthly Anniversary Date and the next Monthly Anniversary Date.
                               The first Policy Month begins on the Policy Date.

     Polley Year               A period of 12 consecutive months. The first Policy Year begins on the Policy Date, and
                               subsequent Policy Years begin on the Policy Anniversary. All Policy Years end on the day
                               before the next Policy Anniversary.

     Premium Rate Class        The rate class the Insured is assigned based on his or her insurance risk as determined
                               through underwriting. The Insured's rate class is shown on the Policy Schedule.

     Reinstate                 To restore the contract after Lapse.

     Rider                     An attachment to this policy that provides an additional benefit and can affect the values
                               and benefits of this policy.

     Specified Amount          The Initial Specified Amount or any Specified Amount Increase still in effect.
     Portion

                                                  THE BENEFICIARY

     Who Receives the Death    The Death Benefit will be paid to the Beneficiary when the Insured dies prior to Termination.
     Benefit                   The Beneficiary is the person or entity named in the application unless changed.

     Protection of the Death   To the extent permitted by law, the Death Benefit will not be subject to the claims of the
     Benefit                   Beneficiary's creditors.

     If the Beneficiary Dies   If any Beneficiary dies before the Insured, that Beneficiary's interest in the Death Benefit will
                               end. If any Beneficiary dies at the same time as the Insured, or within 120 hours after the
                               Insured, that Beneficiary's interest in the Death Benefit will end as if the Beneficiary
                               predeceased the Insured. If the interest of all named Beneficiaries has ended when the
                               Insured dies, we will pay the Death Benefit to you. If you are not living at that time, we will
                               pay the Death Benefit to any surviving owner or to your estate.

     Change of Beneficiary     You may change the named Beneficiary by sending Notice. The change will not be
                               effective until we record it at our home office. Even if the Insured is not living when we
                               record the change, the change will take effect retroactively as of the date it was signed. Any
                               benefits we pay before we record the change will not be affected. An irrevocable Beneficiary
                               must give written consent before we will change the Beneficiary.

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                               PAYMENT OF THE DEATH BENEFIT

    Proof of Death     Upon receipt of Due Proof of the Insured's death, we will send appropriate forms to the
                       Beneficiary for completion. Settlement shall be made within 60 days after receipt of Due
                       Proof of death. Our agents may assist the Beneficiary in filling out the forms free of charge.
                       All claim payments will be sent from our home office.

     Death Benefit     The Death Benefit will be the greater of (a) or (b), where:

                       (a) Is the Current Specified Amount less the total of all Gross Partial Surrender Amounts;
                           or
                       (b) Is the applicable factor from the Table of Death Benefit Factors multiplied by the
                           Accumulation Value as of the date of the Insured's death.

                       On the Policy Anniversary when the Insured attains the Maximum Coverage Age, the Death
                       Benefit will equal the Accumulation Value.

                       If required by law, interest will be paid on the Death Benefit.

                       The Death Benefit is subject to the Misstatement of Age provision or any attached Riders or
                       Endorsements.

                       Any premium necessary to keep this policy in effect to the date of death, subject to the
                       Grace Period provision, and any Policy Loan will be subtracted from the Death Benefit.

                       In no event will the Death Benefit be less than the amount necessary to qualify this policy as
                       a life insurance contract pursuant to Section 7702 of the Internal Revenue Code.


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                                          Table of Death Benefit Factors
     Insured's      Male                  Female                  Insured's    Male      Female       Male    Female
     Attained     Juvenile               Juvenile                  Attained Nontobacco Nontobacco   Tobacco   Tobacco
        Age                                                          Age
         0         15.54                  18.44                     50        2.88        3.23       2.46      2.66
         1         15.09                  17.86                     51        2.79        3.12       2.39      2.58
         2         14.61                  17.26                     52        2.70        3.02       2.32      2.51
         3         14.11                  16.66                     53        2.62        2.93       2.25      2.43
         4         13.61                  16.07                     54        2.53        2.84       2.19      2.37
         5         13.12                  15.49                     55        2.46        2.75       2.13      2.30
         6         12.64                  14.94                     56        2.38        2.67       2.08      2.24
         7         12.19                  14.40                     57        2.31        2.59       2.02      2.18
         8         11.75                  13.88                     58        2.24        2.51       1.97      2.13
         9         11.32                  13.38                     59        2.17        2.44       1.92      2.07
        10         10.91                  12.90                     60        2.11        2.37       1.87      2.02
        11         10.52                  12.44                     61        2.05        2.30       1.83      1.97
        12         10.14                  11.99                     62        1.99        2.24       1.79      1.92
        13          9.78                  11.57                     63        1.94        2.17       1.74      1.88
        14          9.44                  11.16                     64        1.89        2.11       1.71      1.84
        15          9.11                  10.76                     65        1.84        2.06       1.67      1.79
        16          8.81                  10.39                     66        1.79        2.00       1.64      1.75
        17          8.52                  10.02                     67        1.75        1.95       1.60      1.71
                                                                    68        1.70        1.90       1.57      1.68
     Insured's      Male      Female       Male      Female         69        1.66        1.85       1.54      1.64
      Attained   Nontobacco Nontobacco   Tobacco    Tobacco
        Age
        18          8.53       9.92       6.86       7.89           70        1.62       1.80        1.51      1.61
        19          8.26       9.57       6.64       7.62           71        1.58       1.76        1.48      1.57
                                                                    72        1.55       1.71        1.45      1.54
        20          8.00       9.24       6.43       7.35           73        1.51       1.67        1.42      1.51
        21          7.74       8.92       6.23       7.09           74        1.48       1.63        1.40      1.48
        22          7.49       8.61       6.03       6.85
        23          7.25       8.30       5.84       6.61           75        1.45       1.59        1.37      1.46
        24          7.01       8.01       5.65       6.38           76        1.42       1.56        1.35      1.43
                                                                    77        1.39       1.52        1.33      1.41
        25          6.78       7.73       5.48       6.16           78        1.36       1.49        1.31      1.38
        26          6.55       7.46       5.30       5.94           79        1.34       1.46        1.29      1.36
        27          6.34       7.20       5.14       5.74
        28          6.13       6.94       4.98       5.54           80        1.32       1.43        1.27      1.34
        29          5.92       6.70       4.82       5.35           81        1.29       1.40        1.25      1.32
                                                                    82        1.27       1.37        1.24      1.30
        30          5.72       6.47       4.67       5.17           83        1.25       1.35        1.22      1.28
        31          5.53       6.24       4.52       4.99           84        1.24       1.32        1.21      1.26
        32          5.34       6.02       4.37       4.82
        33          5.16       5.81       4.23       4.66           85        1.22       1.30        1.19      1.25
        34          4.98       5.61       4.09       4.50           86        1.20       1.28        1.18      1.23
                                                                    87        1.19       1.26        1.17      1.22
        35          4.81       5.41       3.96       4.35           88        1.17       1.24        1.16      1.21
        36          4.64       5.23       3.83       4.20           89        1.16       1.22        1.15      1.19
        37          4.49       5.05       3.70       4.06
        38          4.33       4.87       3.58       3.93           90        1.15       1.20        1.14      1.18
        39          4.18       4.70       3.46       3.80           91        1.14       1.19        1.13      1.17
                                                                    92        1.13       1.17        1.12      1.16
        40          4.04       4.54       3.35       3.67           93        1.12       1.15        1.11      1.14
        41          3.90       4.39       3.25       3.55           94        1.11       1.13        1.10      1.13
        42          3.77       4.24       3.14       3.44
        43          3.64       4.09       3.04       3.32           95        1.10       1.12        1.09      1.11
        44          3.52       3.95       2.95       3.22           96        1.09       1.10        1.08      1.09
                                                                    97        1.07       1.08        1.07      1.08
        45          3.40       3.82       2.86       3.11           98        1.05       1.06        1.05      1.05
        46          3.29       3.69       2.77       3.01           99        1.02       1.02        1.02      1.02
        47          3.18       3.57       2.69       2.92
        48

                                                                                                              --
                    3.08       3.45       2.61       2.83          100+       1.00       1.00        1.00      1.00
        49          2.98       3.34       2.54       2.74

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                                                       PREMIUMS

     Premiums                 Subject to the following conditions, we will accept any payment while this policy is in force.

                              1.   The first premium payment may be made to our authorized representative. Any
                                   subsequent premium payment shall be sent to our home office. A receipt of payment
                                   will be sent upon Notice.
                              2.   A minimum payment of $25 may be made at any time prior to the Insured attaining Age
                                   100.
                              3.   Evidence of insurability satisfactory to us will be required if you pay a premium that will
                                   cause the Death Benefit to increase by an amount greater than or equal to the amount
                                   shown on the Policy Schedule that would allow us to underwrite such increase. If
                                   evidence is not provided or is not satisfactory to us, the entire premium subject to this
                                   described situation wil! be refunded and no increase will have been approved or in
                                   effect.
                              4.   Premium received that exceeds the life insurance qualification limits under Section 7702
                                   of the Internal Revenue Code will be refunded to you. The qualification determination
                                   will be based on our interpretation of tax law.
                              5.   Premiums will not be accepted once the Insured attains Age 100.

     Continuation of Life     Your policy will continue between premium payments at the Current Specified Amount,
     Insurance                subject to the Guaranteed Policy Protection and Grace Period provisions.

     Guaranteed Polley        This policy is guaranteed to remain in force during the Guaranteed Policy Protection Period
     Protection               shown on the Policy Schedule if the Policy Protection Test has been met.

     Policy Protection Test   This test is calculated on each Monthly Anniversary Date during the Guaranteed PoHcy
                              Protection Period. The test is met if the result of (a) less {b) less (c) is greater than or equal
                              to the sum of Minimum Monthly Premiums since the Policy Date, where:

                              (a) is the sum of premiums paid;
                              (b) is the sum of Gross Partial Surrender Amounts; and
                              {c) is any Policy Loan.

                              Minimum Monthly Premiums change if:

                              1.   you increase or decrease the Current Specified Amount;
                              2.   you add, change or terminate a Rider; or
                              3.   the Insured's Premium Rate Class changes.

     Grace Period             If the Policy Protection Test is not met, or any time after the Guaranteed Policy Protection
                              Period shown on the Policy Schedule, a Grace Period of 61 days starts on the Monthly
                              Anniversary Date when the Net Cash Value is less than the Monthly Deduction or when the
                              Net Cash Value is zero or less.

                              At least 30 days prior to Termination, we will send written notification to your last known
                              address advising that the Grace Period has begun. A premium payment sufficient to keep
                              this policy in force for three months is required and must be received prior to the last day of
                              the Grace Period or this policy will Lapse.

                              If the Insured dies during the Grace Period, premium necessary to keep this policy in effect
                              to the date of death will be subtracted from the Death Benefit.

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                                               PREMIUMS (continued)

     Reinstatement of Lapsed   If this policy terminates due to Lapse, this policy may be Reinstated. To Reinstate this
     Policy                    policy, the following conditions must be met.

                               1.   Notice for reinstatement must be made within three years from the date of Lapse and
                                    before the Insured's Maximum Coverage Age shown on the Policy Schedule.
                               2.   The Insured must still be insurable pursuant to our underwriting standards.
                               3.   If any Policy Loans existed when this policy Lapsed, they must be repaid or Reinstated
                                    with all loan interest that accrued to the date of Lapse.
                               4.   A premium payment sufficient to cover the Monthly Deductions due when this policy
                                    Lapsed and to keep this policy in force for at least two months from the date of
                                    reinstatement must be made.

                               The Accumulation Value of the Reinstated policy will be equal to the Accumulation Value at
                               the date of lapse, plus the Net Premium you pay at reinstatement. The amount of loans on
                               the Reinstated policy will be equal to the Policy loan on the date of Lapse plus loan interest
                               that accrued to the date of Lapse.

                               The Surrender Charges shown on the Policy Schedule may still be in effect, with the Policy
                               Year being determined as if this policy had never Lapsed.

                               Any bonus payable is calculated based on the Policy Year as if this policy has never
                               Lapsed. Any premium requirements for the years in which the Policy is Lapsed will be
                               equal to zero.

                               The reinstatement will be effective as of the Monthly Anniversary Date following the date of
                               our approval of the application for reinstatement.



                                                 POLICY VALUES

     Accumulation Value        On the Policy Date, the Accumulation Value is Net Premium received on or prior to the
                               Policy Date less the first Monthly Deduction. After the Policy Date, the Accumulation Value
                               on any specified date is equal to (a) plus (b) Jess (c), where:

                               (a) is the Accumulation Value on the last Monthly Anniversary Date plus accrued interest
                                   on the Accumulation Value from that date to the specified date;
                               (b) is all Net Premium paid since the last Monthly Anniversary Date plus accrued interest
                                   on those Net Premiums from the date of receipt to the specified date; and
                               (c) is any Gross Partial Surrender Amounts since the last Monthly Anniversary Date, plus
                                   interest accrued on the Gross Partial Surrender Amount from the date of Partial
                                   Surrender to the specified date.

                               On the Monthly Anniversary Date, the Accumulation Value will be reduced by the Monthly
                               Deduction and increased by any applicable bonus.

                               The annual interest rate used to calculate the Accumulation Value will never be less than
                               the guaranteed interest rate shown on the Policy Schedule. An interest rate in excess of the
                               guaranteed rate may be applied to the unloaned Accumulation Value.

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                                          POLICY VALUES (continued)

     Cash Value               You may take a loan for a portion of the Net Cash Value or take a Partial Surrender or Full
                              Surrender of this policy. The Cash Value of this policy will not be less than the legal
                              minimums of the state in which this policy is issued.

     Monthly Deduction        The Monthly Deduction will be subtracted from the Accumulation Value on the Monthly
                              Anniversary Date.
                              The Monthly Deduction is equal to (a) plus (b) plus (c), where:
                              (a) is the Monthly Mortality Cost Charge;
                              (b) is the Monthly Rider Cost Charge if any, for attached Riders; and
                              (c) is the Monthly Expense Charge shown on the Policy Schedule.

     Monthly Mortality Cost   The Monthly Mortality Cost Charge for each Policy Month equals the total charges for that
     Charge                   month for an Specified Amount Portions.

                              The charge for a Specified Amount Portion for a Policy Month is equal to (a) multiplied by
                              (b), where:

                              (a} is the Net Amount at Risk for the Specified Amount Portion for that month; and
                              (b) is the Monthly Mortality Cost Charge rate !hat applies to the Specified Amount Portion
                                  for that month.

                              The Net Amount at Risk for a Specified Amount Portion for a Policy Month equals (a) less
                              (b), where:

                              (a) is the Death Benefit associated with the Specified Amount Portion divided by 1.001652;
                                  and
                              (b) is the Accumulation Value at the beginning of the Policy Month, before the Monthly
                                  Deduction for the month is subtracted.

                              In determining the Net Amount at Risk, we will first assume that the Accumulation Value is
                              part of the Corridor Death Benefit, if any. Any excess of the Corridor Death Benefit over the
                              Accumulation Value is associated with the Initial Specified Amount. The remaining
                              Accumulation Value would then be allocated to the Initial Specified Amount. If the
                              Accumulation Value is greater than the sum of the Corridor Death Benefit and Initial
                              Specified Amount, we will next assume the Accumulation Value is part of each Specified
                              Amount Increase in order, starting with the first increase.

                              Any Gross Partial Surrender Amounts are assumed to reduce the Initial Specified Amount
                              first, then each Specified Amount Increase in order, starting with the first increase.

                              The Monthly Mortality Cost Charge rate for a Specified Amount Portion is based on the
                              Premium Rate Class of the Insured that applied to that Specified Amount Portion.

                              We may change our Monthly Mortality Cost Charge rates based on our future expectations
                              of investment earnings, mortality, persistency, expenses and taxes. Any change we make
                              will apply to an Specified Amount Portions in the same Premium Rate Class.

                              The Monthly Mortality Cost Charge rates for standard Premium Rate Classes or better will
                              not be greater than the rates shown in the Table of Guaranteed Maximum Standard Monthly
                              Mortality Cost Charge Rates. Whenever the Death Benefit is equal to the Accumulation
                              Value, the Monthly Mortality Cost Charge is zero.
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                                           POLICY VALUES (continued)

     Partial Surrender         Upon Notice, you may surrender a portion of this policy. The Partial Surrender is equal to
                               the portion of the Net Cash Value that was surrendered.

     Gross Partial Surrender   The Gross Partial Surrender Amount equals a Partial Surrender plus any applicable Partial
     Amount                    Surrender Charge. The Gross Partial Surrender Amount will be subtracted from the
                               Accumulation Value. The total of all Gross Partial Surrender Amounts is deducted from the
                               Current Specified Amount in determining the Death Benefit as described in the Payment of
                               Death Benefit provision.

                               The Gross Partial Surrender Amount cannot be less than the Minimum Partial Surrender
                               Amount shown on the Policy Schedule.

                               A Gross Partial Surrender Amount may be necessary to preserve this policy's life insurance
                               qualification pursuant to Section 7702 of the Internal Revenue Code.

     Full Surrender            This policy may be surrendered for its Net Cash Value. If this policy is surrendered within 30
                               days of a Policy Anniversary, the Net Cash Value will not be less than the Net Cash Value
                               on that Policy Anniversary.

     Policy Loans              Policy Loans can be preferred or standard Policy Loans. Any Policy Loan and any new
                               loans made in a Policy Year become a preferred Policy Loan if the conditions specified in
                               the Policy Schedule are met. The interest rate charged on a loan is shown on the Policy
                               Schedule.

                               The maximum loan value available is the Cash Value at the end of the then current Policy
                               Year, less any existing loans.

                               If interest charged is not paid in advance as it is due, the interest will be added to the loan
                               on the Policy Anniversary. If any unpaid Policy Loan equals or exceeds the Cash Value,
                               this policy will terminate. Notification will be sent to you and any assignee of record at our
                               home office, no later than 30 days prior to Termination. All Policy Loans will be subtracted
                               from the Death Benefit upon Notice of the death of the Insured.

                               The loan is secured by the portion of the Cash Value or Death Benefit equal to the loan.

     Loan Repayment            A Joan or portion thereof may be repaid at any time. If a loan payment is made, the
                               payment must indicate that it is for the payment of the loan. If no indication is provided, the
                               payment will be applied as premium.

                               If the portion of the Net Cash Value is insufficient to cover the Monthly Deduction due plus
                               any loan interest due that has not been paid in cash, this policy will enter the Grace Period,
                               subject to the Guaranteed Policy Protection provision.

     Payment of Net Cash       We may delay paying the Net Cash Value, or making a new loan to you, for up to six
     Value and Loans           months after Notice. We will not delay any loan made to pay premium due us.


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                                                        POLICY CHANGES

      Changes in Specified          Subject to the following conditions, you may request a change in the Current Specified
      Amount                        Amount anytime after the first Policy Anniversary, but not within one year after a Specified
                                    Amount Increase.

                                    1.   Specified Amount Decreases - Any decrease will become effective on the next
                                         Monthly Anniversary Date following Notice. Any decrease will reduce the Current
                                         Specified Amount in the following order:

                                         (a)   the Specified Amount Portion provided by the most recent increase;
                                         (b)   the next most recent increases successively; and
                                         (c)   the Initial Specified Amount.

                                         Any Specified Amount Decrease will be limited so that the remaining Current Specified
                                         Amount and Death Benefit will be at least the Minimum Current Specified Amount
                                         shown on the Policy Schedule. A Specified Amount Decrease may also be limited to
                                         preserve this policy's life insurance qualification pursuant to Section 7702 of the Internal
                                         Revenue Code. The qualification determination will be based on our interpretation of tax
                                         law.

                                    2.   Specified Amount Increases - All increase requests must be submitted for
                                         consideration on a supplementary application and is subject to evidence of insurability
                                         satisfactory to us. Any increase will become effective on the Monthly Anniversary Date
                                         following our approval. The supplementary application will become part of the contract
                                         and will apply solely to the increased amount.

                                         An increase will not be approved unless the Net Cash Value is sufficient to cover the
                                         next Monthly Deduction. The Specified Amount Increase must at least equal the
                                         Minimum Specified Increase Amount shown on the Policy Schedule.


                                     REDUCED PAID UP LIFE iNSURANCE OPTION

    If there is a Net Cash Value and we are provided Notice, this policy may be continued as non-participating life insurance for a
    reduced Current Specified Amount. The reduced coverage will begin on the due date of the Monthly Deduction. The
    reduced Current Specified Amount will be determined such that the net single premium that would fund the reduced paid-up
    benefits will be at least equal to the Net Cash Value on the due date of the Monthly Deduction using the Mortality Table Basis
    and the guaranteed interest rate shown on the Policy Schedule. Any insurance provided under Reduced Paid-Up Life
    Insurance may be surrendered for its net single premium of future benefits and any Policy Loan is subject to all Policy Loans
    provisions. If any unpaid Policy Loan equals or exceeds the net single premium of future benefits, this policy will terminate.

    No insurance continued under this option will include additional benefits provided by any Rider attached to this policy.


                                                        BASIS OF VALUES

    The Cash Value and paid-up nonforfeiture benefit of this policy will not be less than the legal minimums of the state in which
    this policy is issued. The Guaranteed Maximum Monthly Mortality Cost Charge Rates and the guaranteed interest rate are
    the basis for the Cash Value. Calculation of minimum Cash Value and nonforfeiture benefits is based on the mortality table
    basis and guaranteed interest rate shown on the Policy Schedule.

    The method used to compute the minimum Cash Values and paid-up nonforfeiture benefit have been filed with the state of
    policyissue.                                                                                oUPL\CA'TE


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                                              GENERAL PROVISIONS

     Annual Report            We will send you a report at least annually which shows the premium payments, Monthly
                              Deduction charges, interest credited to the Accumulation Value, and Gross Partial
                              Surrender Amounts since the last report. It will also show any Policy Loan, the Accumulation
                              Value, and current Net Cash Value.

     Projection of Benefits   Upon Notice, we will furnish an illustration showing projected policy benefits and values
                              based on current credited interest rates and costs. The illustration will be provided free of
                              charge once each Policy Year. Each additional illustration requested within a Policy Year
                              will require a charge of no greater than $25.

     Contestability           This policy and any attached Riders or Endorsements were issued based on the information
                              you provided in the application. Any misrepresentations on the application may cause this
                              policy to be voided or rescinded, or a claim to be denied. After this policy and any attached
                              Riders or Endorsements have been in effect during the Insured's lifetime for a period of two
                              years from the Policy Date, this policy shall become incontestable as to a misstatement
                              made in the application. A reinstatement of this contract will be incontestable as to material
                              misstatements in the reinstatement application after being in force during the Insured's
                              lifetime for two years from the date of our approval of the application for reinstatement.
                              After any Specified Amount Increase has been in effect for two years from the date the
                              increase became effective, the increased amount will be incontestable, as to a
                              misstatement made in the application for the increase. This provision does not apply to any
                              Rider providing benefits specifically for disability or death by accident.

     Suicide                  We will be liable only for the premiums paid, less any Gross Partial Surrender Amounts and
                              any Policy Loans, if the Insured dies by suicide while sane or insane within two years from
                              the Policy Date. If the Insured commits suicide, while sane or insane within two years from
                              the effective date of a Specified Amount Increase, the amount of the Death Benefit will not
                              include the Specified Amount Increase. It will include a return of the Monthly Mortality Cost
                              Charges for the increase and any additional expense charges we have deducted for the
                              increase.

     Misstatement of Age      If the Insured's age is misstated on the application, we will adjust the benefits for this policy
                              and any additional benefit Riders or Endorsements covering the Insured. The adjusted
                              Death Benefit will be the Accumulation Value plus the Net Amount at Risk that the last
                              Monthly Deduction would have provided for the Insured's correct Age. The adjusted
                              benefits for any additional benefit Riders covering the Insured will be those for which the last
                              Monthly Deduction would have provided for the Insured's correct Age. If this policy has
                              been continued as reduced paid-up pursuant to the Reduced Paid Up Life Insurance Option
                              provision, the adjusted Current Specified Amount due to a Misstatement of Age will be
                              determined based on what the current net single premium would fund at the correct Age.

                              A new Policy Schedule reflecting the correct issue age will be sent to you.


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                                       GENERAL PROVISIONS (continued)

     Change of Premium Rate After the first Policy Anniversary and no more frequent than once annually, you may send
     Class                  Notice requesting a change of Premium Rate Class. Upon receipt of the Notice and receipt
                               of evidence of insurability satisfactory to us that your health has sufficiently improved, we
                               will allow a change in Premium Rate Class.

                               A change in Premium Rate Class will be subject to the following conditions:

                               1. you may be required to pay a fee for any evidence of insurability we may need to
                                  establish your health; such fee will not be greater than $100; and
                               2. a Company approved healthcare practitioner must provide medical evidence of
                                  insurability.

                               If we approve a Premium Rate Class request, a new Policy Schedule will be issued to you.
                               The Change of Premium Rate Class will be effective on the next Monthly Anniversary Date
                               after our approval.

     The Entire Contract       We have issued this policy in consideration of the application and the initial premium
                               payment. A copy of the application is attached and is a part of this policy. This policy, any
                               attached Endorsements, any attached Riders, and the application together are the Entire
                               Contract. All statements made by or for the Insured are considered representations and not
                               warranties. No statements other than those contained in the application will be used to void
                               the contract or defend a claim.

     Who Can Make Changes      Only our President together with our Secretary have the authority to make any changes to
     in this Policy            this policy. Any change must be in writing.

     Assignment of this        You may assign or transfer all or specific ownership rights of this policy. An assignment will
     Polley                    be effective upon Notice. We will record your assignment We will not be responsible for its
                               validity or effect, nor will we be liable for actions taken on payments made before we receive
                               and record the assignment.

     Death of the Owner        If you are not the Insured and you die before the Insured, your rights will pass to the
                               executor or personal representative of your estate unless ownership has been otherwise
                               assigned.

     Termination               This policy will terminate at the earliest of:

                               1.   the date we receive your request for a Full Surrender;
                               2.   the date the Insured dies;
                               3.   the date of Lapse; or
                               4.   the date the Current Specified Amount is equal to zero.

     No Dividends are          This is a nonparticipating policy. This policy does not participate in our profits or surplus.
     Payable

     Duplicate Policy          Upon Notice, we will send a duplicate of this policy. A charge of no greater than $25 may
                               be assessed for the duplicate policy.

     Amendments                We reserve the right to amend this policy in order to include any future changes which
                               would retain this policy's qualification for treatment as a life insurance policy under the
                               following:

                               1.   the Internal Revenue Code as amended;
                               2.   Internal Revenue Service Rulings and Regulations; and
                               3.   any requirements imposed by the Internal Revenue Service.

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                                            SETTLEMENT PROVISIONS

     Settlement Provisions     When the Insured dies, we will pay the Death Benefit in a lump sum unless a settlement
                               option is chosen.

                               During the lifetime of the Insured, you may choose a settlement option for the Beneficiary.
                               The Beneficiary may choose a settlement option if:

                               1. you have not selected a settlement option payment prior to the Insured's death; and
                               2. settlement option payments have not begun.
                               If the Beneficiary is not an individual, our approval is required for settlement option
                               elections.

                               Settlement option payments will be paid to the Beneficiary for Death Benefit settlements.
                               The settlement option payments will be based on the Annuitant's life, where applicable. For
                               Death Benefit settlements the Beneficiary is the Annuitant.

                               While the Insured is living, you may choose one of the settlement options as a method of
                               receiving the Net Cash Value. Settlement option payments will be paid to you. Under this
                               option, the Insured is the Annuitant.

                               The guaranteed settlement payments will be based on 1% interest and the Annuity 2000
                               Mortality Table. All settlement payments will be based on the interest rate declared for
                               settlement payments, which will not be less than the guaranteed settlement interest rate.

                               Upon Notice, we will apply the benefit according to settlement options listed below. Options
                               other than Options A- D, may be arranged with our agreement We may request proof of
                               the Annuitant's or the named survivor's age. There must be at least $1,000 available for a
                               settlement option and each installment payment must be at least $25. If the benefit is
                               insufficient to meet these requirements, the benefit will be paid in a lump sum.

                               If the owner dies prior to receiving all guaranteed payments under Options A, B or C, the
                               remaining benefit will be paid to the owner's estate unless a contingent owner is named.

                               If the Beneficiary dies prior to receiving all guaranteed payments under Options A, B or C,
                               the remaining benefit will be paid to the Beneficiary's estate.
     OPTION A: Installments    We will pay equal installments for a guaranteed period of five to thirty years. If the Death
     for a Guaranteed Period   Benefit is paid in installments over a minimum of 10 years, the Death Benefit will be
                               increased by 10%. Each installment will consist of part benefit and part settlement interest.
                               The installments will be paid as requested as monthly, quarterly, semi-annually or annually.
                               See Table A
     OPTION B: Installments    We will pay equal installments as long as the Annuitant is living. We will make payments for
     for Life with a           at least the guaranteed period. The Death Benefit will increase by 10% if paid under this
     Guaranteed Period         Option. The installments will be paid as requested as monthly, quarterly, semi-annually or
                               annually. See Table B.
     OPTION C: Installments    We will pay installments of a selected amount until we have paid the entire benefit and
     of a Selected Amount      accumulated settlement interest. The installments must be for at least five years and no
                               more than 30 years. If the Death Benefit is paid in installments over a minimum of 10 years,
                               the Death Benefit will be increased by 10%.
     OPTION D: Joint and       We will pay equal Installments as long as either the Annuitant or named survivor are living.
     Survivor Annuity          The Death Benefit will increase by 10% if paid under this Option. We will pay the
                               installments as requested as monthly, quarterly, semi-annually or annually. See Table C.
     Misstatement of the       If there is a misstatement of the Annuitant's age, we will adjust the payments to the amount
     Annuitant's Age           that the surrender or settlement proceeds would have purchased at the correct age. The
                               Annuitant's age is determined as of his or her last birthday. Any underpayment as a result
                               of such misstatement must be paid immediately in one sum. Any overpayment will be
                               deducted from the current or succeeding payments due under this policy.

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                                      SETTLEMENT PROVISIONS (continued)

    Purchase Rate Tables are based on 1% interest and the Annuity 2000 Mortality Tables. Values for Annuitant ages and
    minimum guaranteed periods not shown will be furnished upon Notice.

                                                      TABLE A
                              INSTALLMENTS FOR EACH $1,000 PAYABLE UNDER OPTION A
         Guarantee            Monthly       Guarantee          Monthly    Guarantee                                Monthly
          Period            Installments     Period          Installments  Period                                Installments
             5                  17.08          14                6.37        23                                      4.05
             6                  14.30          15                5.98        24                                      3.90
             7                  12.32          16                5.63        25                                      3.76
             8                  10.83          17                5.33        26                                      3.64
             9                   9.68          18                5.05        27                                      3.52
            10                  8.75           19                4.81        28                                      3.41
            11                  7.99           20                4.59        29                                      3.31
            12                  7.36           21                4.40        30                                      3.21
            13                  6.83           22                4.22

                                                 TABLE B
                        MONTHLY INSTALLMENTS FOR EACH $1,000 PAYABLE UNDER OPTION B
         Age on           Male Annuitant           Female Annuitant                 Male Annuitant         Female Annuitant
         Date of        Guarantee Period           Guarantee Period                Guarantee Period        Guarantee Period
        Settlement     10 Years   20Years         10Years 20 Years       Age     10 Years    20 Years    10 Years   20Years
             50         3.00        2.92           2.77      2.73        66        4.65          4.00        4.23        3.84
             51         3.07        2.98           2.83      2.78        67        4.80          4.07        4.37        3.91
             52         3.14        3.04           2.89      2.84        68        4.95          4.13        4.52        3.99
             53         3.22        3.11           2.96      2.90        69        5.11          4.18        4.67        4.06
             54         3.30        3.17           3.03      2.96        70        5.28          4.24        4.83        4.13
             55         3.38        3.24           3.10      3.02        71        5.45          4.29        5.00        4.19
             56         3.47        3.30           3.18      3.09        72        5.62          4.33        5.18        4.25
             57         3.56        3.37           3.26      3.16        73        5.80          4.37        5.37        4.30
             58         3.66        3.44           3.35      3.23        74        5.98          4.41        5.56        4.35
             59         3.76        3.51           3.44      3.30        75        6.17          4.44        5.76        4.39
             60         3.87        3.59           3.53      3.37        76        6.35          4.47        5.96        4.43
             61         3.99        3.66           3.63      3.45        77        6.53          4.49        6.17        4.46
             62         4.11        3.73           3.74      3.53        78        6.72          4.51        6.38        4.49
             63         4.23        3.80           3.85      3.60        79        6.90          4.53        6.59        4.51
             64         4.36        3.87           3.97      3.68        80        7.07          4.55        6.79        4.53
             65         4.50        3.94           4.10      3.76

                                                      TABLE C
                                MONTHLY INSTALLMENT PER$1,000 PAYABLE UNDER OPTION D
      Age of Male on                                      Age of Female on Date of Settlement
         Date of
       Settlement          50               55              60             65              70           75              80
           50             2.49             2.63            2.74           2.84            2.90          2.95           2.98
           55             2.58             2.76            2.94           3.09            3.21          3.29           3.35
           60             2.65             2.88            3.12           3.34            3.54          3.69           3.80
           65             2.70             2.97            3.27           3.58            3.89          4.16           4.36
           70             2.73             3.03            3.38           3.78            4.22          4.64           5.01
           75             2.75             3.07            3.46           3.93            4.50          5.11           5.70
           80             2.76             3.09            3.51           4.04            4.70          5.50           6.37



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                      GUARANTEED MAXIMUM MONTHLY MORTALITY COST CHARGE RATES
    The Monthly Mortality Cost Charge rates for each Policy Month will not be more than the amount shown in the table below
    multiplied by the Table Multiplier shown on the Policy Schedule plus any specified Flat Extras shown on the Policy Schedule.
    The table is based on the Insured's Age last birthday at the beginning of each year (attained Age), the Insured's gender and
    whether or not the Insured has qualified for the nontobacco classification. For the Initial Specified Amount, the Insured's
    attained Age is determined at the beginning of each Policy Year. For each Specified Amount Increase, attained Age is
    determined at the beginning of each year measured from the date the increase took effect.

                                                Table of Guaranteed Maximum Standard Monthly
                                            Cost of Insurance Rates per $1,000 Net Amount at Risk
                    Male                 Female                Male           Female                                  Male                Female
      Att.                                              Alt. Standard Standard Standard Standard Att. Standard Standard Standard Standard
      Age       Standard*            Standard*          Age Nontobacco Tobacco• Nontobacco Tobacco• Age Nontobacco Tobacco• Nontobacco Tobacco•

       0            0.06                  0.04          30     0.09      0.15        0.06           0.09    65    1.36       2.34       0.97       1.78
       1            0.04                  0.03          31     0.08      0.15        0.06           0.10    66    1.50       2.53       1.05       1.92
       2            0.03                  0.02          32     0.09      0.15        0.06           0.10    67    1.63       2.71       1.14       2.07
       3            0,02                  0.02          33     0.09      0.16        0.07           0.11    68    1.78       2.90       1.24       2.24
       4            0.02                  0.02          34     0.09      0.16        0.07           0.12    69    1.94       3.11       1.36       2.43

       5            0.02                  0.02          35     0.09      0.17        0.08           0.13    70    2.14       3.35       1.48       2.64
       6            0.02                  0.02          36     0.10      0.18        0.08           0.14    71    2.37       3.64       1.63       2.87
       7            0.02                  0.02          37     0.10      0.19        0.09           0.15    72    2.64       3.99       1.78       3.13
       8            0.02                  0,02          38     0.11      0.21        0.09           0.16    73    2.93       4.34       1.96       3.41
       9            0.02                  0.02          39     0.12      0.22        0.10           0.17    74    3.24       4.72       2.15       3.71

      10            0.02                  0.02          40     0.13      0.24        0.10           0.18    75    3.59       5.14       2.36       4.02
      11            0.02                  0.02          41     0.14      0.27        0.11           0.20    76    3.97       5.62       2.60       4.36
      12            0.03                  0.02          42     0.15      0.29        0.12           0.21    77    4.42       6.17       2.85       4.73
      13            0.03                  0.03          43     0.17      0.33        0.13           0.23    78    4.95       6.80       3.14       5.13
      14            0.04                  0.03          44     0.18      0.36        0.14           0.25    79    5.55       7.51       3.45       5.56

      15            0.06                  0.03          45     0.20      0.40        0.15           0.27    80    6.22       8.29       3.84       6.10
      16            O.D7                  0.03          46     0.22      0.44        0.16           0.30    81    6.96       9.13       4.32       6.77
      17            0.07                  0.03          47     0.24      0.47        0.18           0.34    82    7.74       10.00      4.83       7.46
                                                        48     0.25      0.49        0.20           0.38    83    8.61       10.94      5.38       8.18
                    Male                 Female         49     0.27      0.52        0.22           0.43    84    9.59       12.02      5.99       8.93

      All. Standard Standard Standard Standard          50     0.29      0.56        0.25           0.48    85    10.69      13.26      6.61        9.63
      Age Nonlobacco Tobacco• Nontobacco Tobacco*       51     0.31      0.61        0.27           0.53    86    11.92      14.63       7.35      10.44
                                                        52     0.35      0.67        0.31           0.59    87    13.28      16.11       8.28      11.47
      18     0.08          0.10   0.04           0,04   53     0.39      0.75        0.34           0.66    88    14.74      17.68       9.26      12.51
      19     0.08          0.10   0.04           0.05   54     0.43      0.84        0.37           0.73    89    16.31      19.34      10.26      13.47

      20     0.08          0.11   0.04           0.05   55     0.49      0.93        0.41           0.80    90    17.90      20.97      11.00      14.03
      21     0.08          0.11   0.04           0.05   56     0.54      1.03        0.45           0.88    91    19.50      22.55      11.72      14.48
      22     0.08          0.12   0.04           0.06   57     0.60      1.12        0.50           0.96    92    21.21      24.21      12.92      15.48
      23     0.08          0.13   0.04           0.06   58     0.65      1.21        0.55           1.04    93    23.05      25.96      14.58      16.91
      24     0.08          0.13   0.04           0.06   59     0.71      1.31        0.59           1.13    94    25.04      27.87      16.70      18.95

      25     0.08          0.14   0.04           0.07   60     0.79      1.44        0.65           1.22    95    27.07      29.85      19.07      21.43
      26     0.09          0.15   0.05           O.o?   61     0.88      1.59        0.70           1.32    96    29.09      31.77      21.47      23.86
      27     0.09          0.15   0.05           0.07   62     0.99      1.77        0.76           1.43    97    31.31      33.85      23.07      25.34
      28     0.09          0.15   0.05           0.08   63     1.11      1.96        0.82           1.53    98    33.75      36.10      23.96      25.94
      29     0.09          0.15   0.05           0.08   64     1.23      2.15        0.89           1.65    99    36.43      38.55      25.83      27.58

                                                                                                           100+   0.00       0.00       0.00       0.00
    *RECLASSIFICATION. At least 30 days before the Insured attains Age 18, we will notify you that the Insured will be
    reclassified at a tobacco or nontobacco status. We will include any forms we need to process the reclassification. For the
    Insured to be classified as nontobacco, we will require satisfactory evidence that the Insured meets our requirements for the
    nontobacco classification. If the Insured qualifies for the nontobacco classification, nontobacco rates will apply for Policy

                                                                                                                             UPL\CATE
    Years beginning on and after the date of approval. If the Insured does not qualify for the nontobacco classification or we do
    not receive the completed reclassification forms, tobacco rates will apply for Policy Years beginninOga

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                              ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA
                                               5701 Golden Hills Drive
                                             Minneapolis, MN 55416-1297

                                                       {800) 950-1962




                                                      DUPLICATE




                Death Benefit payable to the Beneficiary upon death of the Insured if this policy is in
                force. Net Cash Value payable to you upon Full Surrender. Flexible premium may be
                paid until the death of the Insured as described in this policy. This policy is
                nonparticipating; no dividends are payable on this policy.




    P50537 NJ



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